Case: 6:17-cv-00157-KKC-HAI Doc #: 32 Filed: 01/30/18 Page: 1 of 2 - Page ID#: 375



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  LONDON DIVISION

                                        Electronically filed

DAVID WILSON, as Administrator                       )
of the Estate of Lisa Noble,                         )
Deceased,                                            )
               Plaintiff                             )
                                                     )         Civil Action No. 6:17-157-KKC
v.                                                   )
                                                     )
BEACON TRANSPORT, LLC,                               )
and TERRAN COOPER,                                   )
          Defendants                                 )

                              NOTICE OF VIDEO DEPOSITION

       Notice is hereby given that counsel for the Plaintiff in this action will take the video

deposition of Toby Curry on Thursday, February 22, 2018, beginning at the hour of 10:00

o’clock a.m., at Jewell Law Office, PLLC, 138 Court Square, Barbourville, Kentucky 40906.

       Said deposition will be taken for purposes of discovery and all other purposes permitted by

the Federal Rules of Civil Procedure

                                              Timothy D. Lange
                                              BENSON, RISCH & LANGE, PLLC
                                              401 W. Main Street, Suite 2150
                                              Louisville, Kentucky 40202
                                              Telephone: (502) 583-8373

                                              D. Randall Jewell
                                              JEWELL LAW OFFICE, PLLC
                                              P.O. Drawer 670
                                              Barbourville, Kentucky 40906
                                              Telephone: (606) 546-9714

                                              Billy J. Taylor
                                              TAYLOR LAW OFFICE, PLLC
                                              110 Knox Street, Suite A
                                              Barbourville, Kentucky 40906
                                              Telephone: (606) 545-0224

                                              By: s/D. Randall Jewell ___________
                                                 ATTORNEYS FOR PLAINTIFF
                                            Page 1 of 2 Page
Case: 6:17-cv-00157-KKC-HAI Doc #: 32 Filed: 01/30/18 Page: 2 of 2 - Page ID#: 376




                                  CERTIFICATE OF SERVICE

       On January 30, 2018, I electronically filed this document through the ECF system, which

will send a notice of electronic filing to counsel of record.

       And I mailed this document to:


               Harlan E. Judd, III
               Harlan E. Judd & Associates
               P.O. Box 51093
               Bowling Green, Kentucky 42102


                                               By: s/D. Randall Jewell___________
                                                  ATTORNEYS FOR PLAINTIFF




                                             Page 2 of 2 Page
